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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION




     In re: JOHNSON & JOHNSON AEROSOL                             MDL-__________
             SUNSCREEN LITIGATION




     BRIEF IN SUPPORT OF JIMENEZ PLAINTIFFS’ MOTION FOR TRANSFER OF
                    ACTIONS PURSUANT TO 28 U.S.C. § 1407

        The Jimenez Plaintiffs1 respectfully submit this Brief in Support of their motion for transfer

and consolidation of related actions in the District of New Jersey, under 28 U.S.C. § 1407.

I.      INTRODUCTION

        Pursuant to 28 U.S.C. § 1407, the Jimenez Plaintiffs seek an Order (i) transferring to the

District of New Jersey the French,2 Dominguez,3 Rafal,4Serota,5 McLaughlin,6 Briglio,7and

Lavalle8 actions and any other tag-along actions asserting similar or related claims against Johnson

& Johnson Consumer Inc. (“J&J”)9 involving defective sunscreen sprays that contain the presence


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  “Plaintiffs” or the “Jimenez Plaintiffs” are Melissa Jimenez and Catalina Ocampo. Their case is
captioned Jimenez, et al. v. Johnson & Johnson Consumer, Inc., Case No. 3:21-cv-13113-FLW-
TJB, pending in the United States District Court for the District of New Jersey.
2
  Shelli French, et al. v. Neutrogena Corporation Case No. 2:21-cv-05048 (C.D. Cal.).
3
  Johanna Dominguez, et al. v. Johnson & Johnson Consumer, Inc., Case No. 4:21-cv-05419-JST
(N.D. Cal.).
4
  George Rafal, et al. v. Johnson & Johnson; Johnson & Johnson Consumer, Inc.; Neutrogena
Corporation; and Aveeno Case No. 3:21-cv-05524-LB (N.D. Cal.).
5
   Meredith Serota, et al. v. Neutrogena Corporation and Johnson & Johnson Consumer
Companies, Inc. Case No. 0:21-cv-61103 (S.D. Fla.).
6
  Timothy McLaughlin, et al. v. Johnson & Johnson Consumer, Inc.; Johnson & Johnson; and
Costco Wholesale Corporation, Case No. 3:21-cv-13710 (D.N.J.).
7
  Julianna Briglio, et al. v. Johnson & Johnson Consumer Inc. Case No. 3:21-cv-13972 (D.N.J.).
8
  Steven Lavalle, et al. v. Neutrogena Corporation and Johnson & Johnson Consumer Companies,
Inc., Case No. 7:21-cv-06091 (S.D.N.Y.).
9
  Certain actions also name subsidiaries of J&J such as Neutrogena Corporation, however, they
all concern the same Products produced by J&J.
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of benzene (the “Products”) that may subsequently be filed in or removed to the federal courts;

and (ii) consolidating the French, Dominguez, Rafal, Serota, Jimenez, McLaughlin, Briglio, and

Lavelle class actions for pretrial discovery and class certification purposes.10 Transfer and

consolidation in the District of New Jersey is necessary under Section 1407 in order to promote

efficient management of the litigation because:

        The actions involve nearly identical factual allegations that J&J’s sunscreen sprays are

         defective in that they contain the presence of benzene, a chemical linked to blood cancers

         such as leukemia, and the actions bring largely duplicative legal claims. Thus, discovery

         in all of the related actions will necessarily focus on the same documents, witnesses, and

         other evidence pertaining to J&J’s testing and development of the Products, J&J’s

         knowledge of problems regarding the presence of benzene in the Products during normal

         use by consumers, and any steps J&J took to address any known defects. Absent

         consolidation, duplicative discovery and potentially conflicting dispositive legal rulings

         may result.

        The actions involve overlapping putative classes, as the French, Dominguez, Rafal, Serota,

         Jimenez, McLaughlin, Briglio, and Lavelle actions seek to certify classes of consumers

         who are members of the putative class in the Jimenez action. Absent consolidation, five

         federal district courts could issue five conflicting class certification rulings.

        The District of New Jersey is where J&J’s headquarters and most relevant witnesses and

         documents are likely to be located.




10
   The French, Dominguez, Rafal, Serota, Jimenez, McLaughlin, Briglio, and Lavelle cases are
listed on the Schedule of Actions filed with the accompanying Brief as Exhibit “A.” The
Complaints (without exhibits) in the Actions and their related docket sheets are attached to the
Brief as Exhibits “A-1” through “A-8.”
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         Three of the eight class actions are pending in the District of New Jersey, and those cases

          are pending before the Honorable Freda L. Wolfson.

II.       BACKGROUND

          A.     Factual Background

          J&J manufactures, sells, markets, and distributes several over-the-counter Sunscreen

products under its brand name “Neutrogena.” In 2020, Valisure LLC and ValisureRX LLC

(“Valisure”), an analytical pharmacy, ran tests on a variety of J&J’s Sunscreen products using a

sophisticated gas chromatography flame ionization test modified to follow FDA guidance for

impurities detection. Specifically, Valisure tested numerous lots of J&J’s spray and lotion

Sunscreen products. Through its testing, Valisure discovered that certain of the Sunscreen products

contain benzene with values ranging from less than 0.1 parts per million (“ppm”), 0.10 ppm to 2

ppm, and more than 2 ppm. For reference, the National Institute for Occupational Safety and

Health (“NIOSH”) recommends protective equipment be worn by workers expecting to be exposed

to benzene at concentrations of 0.1 ppm and defines “skin absorption” as an exposure route.

Benzene is a known human carcinogen that has been linked to leukemia and other cancers.

Notably, benzene is not listed as an active or inactive ingredient on any of the labels of the

Products.

          As a result of the concerning findings, on May 25, 2021, Valisure filed its citizen petition

with the FDA asking the FDA to recall all batches of Defendant’s Products that contained benzene

on the basis that they are adulterated under Section 501 of the Federal Drug and Cosmetics Act

(“FDCA”) and misbranded under Section 502 of the FDCA, in violation of 21 U.S.C. § 351 and

21 U.S.C. § 352, respectively.




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         Thereafter, on or about July 14, 2021, J&J issued a voluntary (albeit inadequate) recall of

certain of the Products at issue in the litigations involving Defendant’s aerosol sunscreen product

lines.

         B.       Procedural History of the Pending Actions

         On June 29, 2021, the Jimenez Plaintiffs filed a proposed class action on behalf of a

nationwide class of persons (and New York and Illinois subclasses) who purchased the Products.

See generally Jimenez Class Action Complaint with Jury Demand. The Jimenez Plaintiffs asserted

claims for violations of the New Jersey, New York and Illinois consumer protection laws,

fraudulent concealment, and unjust enrichment.

         At or around that same time, seven other substantially similar class actions were filed in

district courts across the countryone in the Central District of California (French); two in the

Northern District of California (Dominguez and Rafal); one in the Southern District of Florida

(Serota); two more in the District of New Jersey (McLaughlin and Briglio); and one in the Southern

District of New York (Lavalle). Notably, the two District of New Jersey cases (McLaughlin and

Briglio) were identified as related to the Jimenez case and have been referred to Judge Wolfson.

         Although Plaintiffs know of no other related cases pending, J&J is best situated to inform

the Panel whether there are any other class actions in federal district courts that raise the same or

similar claims.

III.     ARGUMENT

         A.       Transfer of the Pending Class Actions for Coordinated Pretrial Proceedings is
                  Proper

         The principal goals of 28 U.S.C. § 1407 are to avoid duplicative discovery, prevent

inconsistent or repetitive rulings, promote efficient management of litigation, and conserve the

resources of the parties, counsel, and the courts. See MANUAL ON COMPLEX LITIGATION § 22.33

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at 367 (4th ed. 2004). These goals are best served by transferring the above-identified cases for

coordinated pretrial proceedings.     28 U.S.C. § 1407 authorizes this Panel to transfer and

consolidate two or more civil cases for coordinated pretrial proceedings upon the determination

that (i) they “involv[e] one or more common questions of fact,” (ii) transfer will further “the

convenience of the parties and witnesses,” and (iii) transfer “will promote the just and efficient

conduct of the action.” 28 U.S.C. § 1407(a).

       Here, Section 1407’s requirements for transfer are satisfied. The above-referenced class

actions against J&J are based on the same or substantially similar questions of law and fact. In

addition, transfer will promote the convenience of the parties and efficiency in the pretrial

proceedings by eliminating duplicative discovery and the potential for inconsistent rulings,

including determinations on class certification. Indeed, because all of the actions assert complex,

yet virtually identical claims and allegations requiring substantial discovery into highly technical

aspects of J&J’s manufacturing, testing, formulation, marketing, and sales procedures, they are

ideal candidates for transfer for coordinated or consolidated pretrial proceedings. See In re Eliquis

(Apixaban) Products Liab. Litigation, 282 F.Supp.3d 1354, 1356 (J.P.M.L. 2017) (consolidation

appropriate where issues concerning the manufacture, testing, design, marketing, and sales of a

product are common to all actions).

               1.      The related actions involve common questions of fact.

       The first requirement of Section 1407 — that actions involve common questions of fact —

is satisfied. The factual issues to be determined in each of the actions proposed for transfer and

coordination arise from the same course of conduct by J&J and are, therefore, identical for pretrial




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purposes.11 Common questions of fact and law at issue in the related actions include, but are not

limited to, the following:

        a.      Whether the Products are defective such that they contain benzene, a known human

carcinogen;

        b.      Whether and when J&J had exclusive knowledge that the Products are defective

but failed to disclose the defect to the public;

        c.      Whether the Products provide the benefits claimed by J&J on the labeling,

packaging, and/or in the course of its marketing;

        d.      Whether J&J’s conduct violated consumer fraud laws;

        e.      Whether J&J’s conduct constituted a breach of applicable warranties;

        f.      Whether J&J’s acts and omissions make it liable for negligence and strict products

liability;

        g.      Whether J&J engaged in unfair, deceptive, unlawful and/or fraudulent acts or

practices in trade or commerce by objectively misleading Plaintiffs and putative Class members;

        h.      Whether, as a result of J&J’s omissions and/or misrepresentations of material facts,

Plaintiffs and putative Class members have suffered an ascertainable loss of monies and/or

property and/or value; and

        i.      Whether Plaintiffs and putative Class members are entitled to monetary damages,

injunctive relief, and/or other remedies and, if so, the nature of any such relief.

        Even a cursory review of the pleadings reveals that the factual issues to be determined in

each of the actions are nearly identical, making transfer to a single forum highly appropriate. See



11
  Although all nine pending cases are substantially similar, Section 1407 does not require a
“complete identity or even [a] majority” of common questions of fact to justify transfer. In re
Zyprexa Prods. Liab. Litig., 314 F. Supp. 2d 1380, 1381 (J.P.M.L. 2004).
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In re Neurontin Mktg & Sales Practices Litig., 342 F.Supp. 2d 1350, 1351 (J.P.M.L. 2004) (finding

existence of common issues to warrant transfer where “[a]ll actions were purported class actions

involving allegations that common defendants have engaged in the illegal promotion and sale of

the drug Nuerontin”); In re Ephedra Prod. Liab. Litig., 314 F.Supp. 2d 1373, 1375 (J.P.M.L. 2004)

(“Common factual questions arise because these actions focus on alleged side effects of ephedra-

containing products, and whether defendants knew of these side effects and either concealed,

misrepresented or failed to warn of them.”).

               2.      Consolidating the class actions will further the convenience of the
                       parties and the witnesses.

       Consolidation of the related class actions would likewise satisfy the second requirement of

Section 1407 because it will serve the convenience of the parties and witnesses. At present, all of

the cases are in their infancy, having all been filed in late May, June, or July of 2021. If these

cases continue to proceed separately, there will be substantial duplicative discovery because of the

many overlapping issues of fact and law. Indeed, discovery in all of the related actions will

necessarily focus on documents, witnesses and other evidence pertaining to J&J’s testing,

formulation, and development of the Products, J&J’s knowledge of problems regarding the

Products, and any steps J&J took to address any known defects. These subjects are complex and

highly technical and will require substantial discovery and entail significant expense. Because

these actions arise from a common core of factual allegations, there is a strong likelihood of

duplicative discovery demands and redundant depositions. Consolidation of the actions would

enable a single District Judge to establish a single pretrial schedule, thereby minimizing

inconvenience to witnesses and expense to parties. See In re Fisher-Price Rock 'N Play Sleeper

Marketing, Sales Practices, & Products Liab. Litigation, 412 F.Supp.3d 1357, 1360 (J.P.M.L.

2019) (consolidation “expeditiously places all related actions before a single judge who can ensure

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that pretrial proceedings are conducted in a streamlined manner leading to the just and efficient

resolution of all actions”).

                3.      Transfer and consolidation will promote just and efficient conduct of
                        the related actions.

        For these same reasons, transfer and coordination of the related cases would also promote

the just and efficient adjudication of the actions. The related actions all raise common questions

of fact and law. Plaintiffs in each action will likely seek to depose many of the same individuals

and request production of a substantially similar set of documents. Failure to consolidate these

actions would, therefore, result in unnecessary and duplicative discovery; witnesses would have

to appear for multiple depositions and J&J would have to negotiate and produce multiple sets of

overlapping documents. Consolidation and coordination of the actions would avoid this needless

waste of resources and confer benefits upon both the plaintiffs as well as J&J. 12

        Also, the fact that all nine actions are seeking to certify overlapping classes opens the

possibility of inconsistent rulings on certification issues, which weighs heavily in favor of transfer

and consolidation.     Lastly, the defects at issue are complex and highly technical and will

necessarily require extensive use of experts and a substantial amount expensive discovery. See In

re Power Morcellator Products Liab. Litigation, 140 F.Supp.3d 1351, 1353 (J.P.M.L. 2015) (the

fact that “[d]iscovery, including expert discovery, will overlap with respect to these common

issues” supports centralization).



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   This Panel has routinely recognized that consolidating litigation in one court benefits both
plaintiffs and defendants. For example, pretrial transfer would reduce discovery delays and costs
for plaintiffs and permit plaintiffs’ counsel to coordinate their efforts and share the pretrial
workload. See, e.g., In re Phenylpropanolamine (PPA) Prods. Liab. Litig., 173 F. Supp. 2d 1377,
1379 (2001) (“And it is most logical to assume that prudent counsel will combine their forces and
apportion their workload in order to streamline the efforts of the parties and witnesses, their
counsel and the judiciary, thereby effectuating an overall savings of cost and a minimum of
inconvenience to all concerned.”).
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       To avoid the possibility of inconsistent rulings (including inconsistent determinations on

class certification) and duplicative discovery, as well needless taxation on the judicial system, the

actions should be consolidated before the same court. See In re Fairlife Milk Products Marketing

& Sales Practices Litigation, 396 F.Supp.3d 1370, 1371 (J.P.M.L. 2019) (“Centralization thus will

eliminate duplicative discovery; prevent inconsistent pretrial rulings, particularly with respect to

class certification; and conserve the resources of the parties, their counsel, and the judiciary.”).

       B.      The Related Actions Should Be Transferred to the District of New Jersey for
               Coordinated or Consolidated Pretrial Proceedings Before the Honorable
               Freda L. Wolfson.

       In selecting a transferee district, this Panel generally considers the defendant’s location and

the location of relevant documents. See In re Ford Motor Co. F-150 & Ranger Truck Fuel

Economy Marketing & Sales Practices Litig., 412 F.Supp.3d 1355, 1356 (J.P.M.L. 2019). As

noted, J&J’s headquarters is located in the District of New Jersey (where most of the discovery

will necessarily focus). This factor weighs heavily in favor of transferring the related cases to the

District of New Jersey. See In re Fairlife Milk Products, 396 F.Supp.3d at 1371 (a district “has a

strong connection” to a matter when the defendant is headquartered there, and when the

defendant’s marketing decisions “likely were conceived and executed there”).

       Moreover, New Jersey is convenient for the parties and is the likely location of many of

the relevant witnesses. See, e.g., In re Hypodermic Products Antitrust Litigation, 408 F.Supp.2d

1356, 1357 (J.P.M.L. 2005) (“We conclude that the District of New Jersey is an appropriate forum

in this docket for the following reasons: i) the district, wherein sole common defendant [] is

headquartered, is an accessible location that will be geographically convenient for many of this

docket's litigants, witnesses and counsel; and ii) the district is well equipped with the resources

that this complex [] docket is likely to require.”). The District of New Jersey and surrounding



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region are serviced by multiple airports and all major airlines, and would be accessible and

convenient for all parties, witnesses, and attorneys.

       In addition to the geographic location of a court, an important consideration is whether the

potential judge is qualified to handle a matter before the court. To this end, the Panel closely

evaluates whether a judge possesses the experience and ability to properly adjudicate a pending

action, and the Panel routinely bases its ultimate decision as to where to transfer a pending case on

who the presiding judge will be. For example, in In re Vision Serv. Plan Tax Litig., 484 F. Supp.

2d 1356, 1357 (J.P.M.L. 2007), the panel decided to assign the “litigation to an experienced jurist

with the ability to steer this litigation on a prudent course.” Here, Judge Wolfson is an experienced

jurist who has handled significant and high-value cases during her career. 13 She is more than

capable of handling this matter and would be an excellent choice for the Panel. See, e.g., In re

Plavix Marketing, Sales Practices and Products Liability Litigation (No. II), 923 F.Supp.2d 1376,

1380 (J.P.M.L. 2013) (assigning MDL proceeding to Judge Wolfson and observing “[s]he has

served as a transferee judge in three MDLs); In re Vonage Marketing and Sales Practices, 505

F.Supp.2d 1375, 1377 (J.P.M.L. 2007) (concluding the District of New Jersey is an appropriate

transferee forum and centralizing the actions before Judge Wolfson).

IV.    CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that this Panel transfer the

above-listed class actions and any subsequently filed cases raising similar claims to the District of

New Jersey for coordinated pretrial proceedings before the Honorable Freda L. Wolfson.




13
   See, e.g., Securities Inv'r Protection Corp. v. Bernard L. Madoff Invest. Securities LLC, No.
1:17-cv-4952, 2017 WL 4838575 (S.D. N.Y. Oct. 24, 2017).
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                                    Respectfully Submitted,

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